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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE

MATTHEW THURSTON,                      )
                                       )
             Plaintiff                 )
                                       )
v.                                     )       No. 1:22-cv-00375-NT
                                       )
PROGRESSIVE CASUALTY                   )
INSURANCE COMPANY et al.,              )
                                       )
             Defendants                )

          ORDER ON MOTION TO AMEND SCHEDULING ORDER

      I accept that the parties need more time complete fact discovery, but that need

does not justify the lengthy briefing schedule they have proposed for the anticipated

class certification motion. Accordingly, I will GRANT their motion (ECF No. 44) in

part and EXTEND the deadlines as follows.

      Amendment of Pleadings/Joinder of Parties: February 9, 2024

      Fact Discovery: February 9, 2024

      Plaintiff’s Expert Designation: February 15, 2024

      Class Certification Motion: February 15, 2024

      Opposition to Class Certification Motion: March 15, 2024

      Reply to Opposition to Class Certification Motion: April 15, 2024

      Defendants’ Expert Designation: April 15, 2024

      Expert Discovery: May 29, 2024

      Local Rule 56(h) Notice: June 5, 2024

      Dispositive/Daubert/Kumho Motions: June 20, 2024

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      Ready for Trial: August 5, 2024

      SO ORDERED.

                                   NOTICE

      In accordance with Federal Rule of Civil Procedure 72(a), a party may
serve and file an objection to this order within fourteen (14) days after being
served with a copy thereof.

      Failure to file a timely objection shall constitute a waiver of the right
to review by the District Court and to any further appeal of this order.

      Dated: December 15, 2023

                                            /s/ Karen Frink Wolf
                                            United States Magistrate Judge




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